
658 S.E.2d 274 (2008)
STATE of North Carolina
v.
Ervin Sherrod POLLARD.
No. 147P07.
Supreme Court of North Carolina.
January 24, 2008.
Ervin Sherrod Pollard, Pro Se.
Suenna P. Sumpter, Assistant Attorney General, Clark Everett, District Attorney, for State of NC.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant on the 23rd day of March 2007 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the Attorney General, the following order was entered and is hereby certified to *275 the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 24th day of January 2008."
Upon consideration of the petition filed on the 23rd day of March 2007 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 24th day of January 2008."
